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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DlSTRICT OF FLORIDA
WEST PALM BEACH DIVISION

Case No. 01-9013-CIV.-RYSKAMP
Magistrate Judge Vitunac

 

MECCA FARMS, INC., §§ a_i., cLAR:~cE MADDQX

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Defendants.

)

DELMA LUZ-CARRANZA, §t. al., )

individually and on behalf of )

all others similarly situated, )
)

Plaintiffs, ) F|LED by D. C. '

)

§ APR - 7 2003
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FINAL ORDER

This case came before the Court on April l, 2003 at a hearing to determine the
lawfulness, reasonableness, adequacy and fairness of the proposed class settlement in this action.

On March 17. 2003,_ the Court entered an order directing that notice be given to members
of the certified class in this case, said notice advising the class members of the terms of the
proposed settlement, of their right to object to it and of the time and place of this hearing.
(Docket Entry 132). The Court has heard and considered the presentations of counsel regarding
the publication of this notice. The Court is unaware of any persons objecting to this proposed

settlement. The Court has also been advised that the parties have agreed to the entry of this

order. §§
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Based on the foregoing, the Court hereby FINDS that:

A. The terms and provisions of this Court's order of March 17, 2003 in this case have
been carried out by the parties.

B. The terms of the settlement contemplated herein are found in the Stipulation of
Proposed Joint Settlement Agreement and exhibits thereto previously filed with the Court, and
the terms thereof are incorporated herein and made a part hereof.

C. Said settlement is lawful, fair, just, reasonable and adequate after considering among
other things that the settlement was reached after good faith, arms-length negotiations by
experienced and capable counsel for the class and in the absence of collusion; the amount of the
settlement; the likelihood of the Plaintiffs' success in obtaining the relief prayed for; the cost,
complexity and duration of litigation if pursued; the disruption of business of Defendants and
other matters bearing on the best interest of the parties, including the absence of objection by any

class member or potential class member to the settlement contemplated by the Stipulation.

IT lS HEREBY ORDERED, ADJUDGED, AND DECREED that:

1. A settlement class consisting of all migrant and seasonal agricultural workers
furnished to Mecca Farms, lnc. by M. Sanchez & Son, Inc., Maria T. Sanchez, or Rogerio T.
Rodriguez from August 1997 through November 2001, inclusive, who do not timely request
exclusion from this class, is permanently and finally certified under Rules 23(b)(3) and (e) of the
Federal Rules of Civil Procedure, the Court finding that the requirements of that rule are met;

2. 'l`he settlement contemplated in the Stipulation of Proposed Joint Settlement

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Agreement is finally approved and the parties are directed to continue to perform in compliance
with the terrns, and subject to all conditions thereof;

3. The Defendants, their past and present officers, shareholders, directors, agents,
attomeys, subsidiaries, parent corporations, related entities and affiliates, if any, and their
respective successors, heirs and assigns, whomever, arc released from all damage and other
claims of the Plaintiffs, and all members of the class, their heirs, representatives, agents,
attorneys, successors, or assigns, or anyone claiming on their behalf, which have been raised or
asserted in this action; and,

4. This action is hereby dismissed with prejudice, except to reserve jurisdiction to

enforce the terms of the settlement

DONE AND ORDERED in Chambers in West Palm Beach, Florida, this 7 day of

M? 2003.

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/EENNETH L RYYKA,MP,_D ’

/znited States District ludge

copies furnished to:
counsel of record

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Lillian Hirales, Esq.

Gregory S. Schell, Esq.

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508 Luceme Avenue

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